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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MARYLAND

GENERAL CONFERENCE OF                          *
SEVENTH-DAY ADVENTISTS, ET AL.,                *
                                               *
      Plaintiffs,                              *
                                               *
      v.                                       *      Case No. 8:24-cv-02866-TDC
                                               *
CLEVELAND L. HORTON, II, ET AL.                *
                                               *
      Defendants.                              *
                                               *
*     *      *       *     *     *       *     *      *     *        *       *         *

                 DEFENDANTS’ RESPONSE TO PLAINTIFFS’
           NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF
            PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION

      Plaintiffs have submitted Gracehaven, Inc. v. Montgomery County Department of

Job and Family Services, No. 3:24-CV-325, 2025 WL 1158079 (S.D. Ohio Apr. 21,

2025), as supplemental authority in support of their motion for preliminary injunction.

(ECF 37.) Gracehaven, however, does not support plaintiffs’ claims.

      In Gracehaven, a nonprofit religious organization had a contract with the

defendant county under which the organization took foster care placements. 2025 WL

1158079, at *1. The organization had a policy of hiring only coreligionists, and the

county chose not to renew the contract due to that policy. Id. at *2. The district court

granted a preliminary injunction on free exercise grounds, applying strict scrutiny

because the county had “exclude[d] religious observers from otherwise available public

benefits”—here, foster care funds. Id. (quoting Carson v. Makin, 596 U.S. 767, 778

(2022)). The court also found that the county had denied those benefits based solely
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upon the organization’s policy of hiring only coreligionists, which the court described as

“part of what gives religious organizations their religious character.” Id. at *3.

       Gracehaven does not help plaintiffs here because it is an application of a line of

cases involving the denial of public benefits based solely on a recipient’s religion. See id.

at *1-2. This case does not involve the denial of public benefits; it involves generally

applicable employment discrimination laws. Moreover, Gracehaven itself overreads the

cases on which it relies, which principally concern whether the government may deny

public benefits simply because the would-be recipient organization is religious, not

because of religiously motivated practices in which the organization may engage. See

Carson, 596 U.S. at 787; Espinoza v. Montana Dep’t of Revenue, 591 U.S. 464, 476

(2020); Trinity Lutheran Church of Columbia, Inc. v. Comer, 582 U.S. 419, 462 (2017).

       Further, Gracehaven’s application of strict scrutiny is not instructive here.

Gracehaven characterized the county’s action as “target[ing] religious conduct for

distinctive treatment.” 2025 WL 1158079, at *4 (quoting Church of Lukumi Babalu Aye,

Inc. v. Hialeah, 508 U.S. 520, 546 (1993)). Here, by contrast, plaintiffs are challenging a

generally applicable antidiscrimination law, supported by the state interest in eliminating

employment discrimination. (ECF 27-1, at 31.)




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                                   Respectfully submitted,

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                                   Attorney General of Maryland

                                   /s/ Jeffrey Luoma
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                          CERTIFICATE OF SERVICE

      I certify that on May 15, 2025, I filed the foregoing document with the Clerk of

Court and served the foregoing document on all counsel of record and any other

registered users through the Court’s CM/ECF system.


                                              /s/ Jeffrey S. Luoma
                                              Jeffrey S. Luoma




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